Case 2:18-cv-11776-AJT-EAS ECF No. 73 filed 09/09/19      PageID.2348   Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


JOHN DOE,
                                                 Case No. 18-11776
            Plaintiff,
                                                 SENIOR U.S. DISTRICT JUDGE
v.                                               ARTHUR J. TARNOW

UNIVERSITY OF MICHIGAN, ET AL.,                  U.S. MAGISTRATE JUDGE
                                                 ELIZABETH A. STAFFORD
            Defendants.


                                      /

                ORDER SCHEDULING SETTLEMENT CONFERENCE

      This matter is set for a settlement conference on Wednesday, September 25

at 12:00 PM. Individuals with ultimate settlement authority are required to appear.

The Court additionally requests for both parties to submit a statement of resolved

and unresolved issues by Monday, September 23, 2019.

      SO ORDERED.



                                      s/Arthur J. Tarnow
                                      Arthur J. Tarnow
Dated: September 9, 2019              Senior United States District Judge



                                   Page 1 of 1
